                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT CHATTANOOGA

   UNITED STATES OF AMERICA                        )
                                                   )      Case No. 1:18-cr-11
   v.                                              )
                                                   )      Judges Mattice/ Steger
   JERRY WAYNE WILKERSON,                          )
   MICHAEL CHATFIELD,                              )
   KASELY NICHOLSON,                               )
   BILLY HINDMON, and                              )
   JAYSON MONTGOMERY                               )

                                           ORDER

         Before the Court is the Unopposed Motion to Amend Conditions of Release [Doc.

   581] filed by Defendant Michael Chatfield, seeking a modification of the conditions of his

   release to allow him to travel from Chattanooga, Tennessee, to Destin, Florida, from

   August 21, 2021, to August 28, 2021. The Motion is not opposed by the Government or

   Defendant’s supervising officer. Having considered the matter, the Motion [Doc. 581] is

   GRANTED.

         SO ORDERED.


                                            /s/ Harry S. Mattice, Jr.
                                            HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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